                 Case 2:05-cr-00231-JCC           Document 797     Filed 12/22/05     Page 1 of 1



 1
 2
 3
 4                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 5
 6      UNITED STATES OF AMERICA,

 7                                   Plaintiff,                    Case No. CR05-231JCC
                             v.
 8
        GEORGE WEGERS, ET AL.,                                    1ST Supplemental Minute Order
 9                                                                 Re: Settlement Conference
                                     Defendants.
10
11
                THIS matter came before United States Magistrate Judge, J. Kelley Arnold, pursuant to an order of
12
     reference from the Honorable John C. Coughenour referring certain defendants named in the above captioned
13
     cause for a settlement conference.
14
15
                Those defendants referred for the date of December 20, 2005 were: Gerald Raschka, Anthony Devries,

16 and Hugh Henschel. The United States appeared through Assistant United States Attorneys Ye-Ting Woo
17 and Todd Greenberg. Defendant Raschka’s case was resolved by the parties before meeting with Judge
18 Arnold. Defendant Devries appeared personally and with counsel, Timothy McGarry. Defendant Henschel
19 appeared personally and with counsel, James Vonasch.
20              Defendant Devries continues in negotiations with the United States Attorney’s Office. This court
21
     continues to work with the parties and will enter a more conclusive minute order within two weeks.
22
                Defendant Henschel has resolved the matter pursuant to a plea agreement under Federal Rule
23
     of Criminal Procedure 11 (c)(1)(C) presented to the Honorable Franklin D. Burgess for the purpose of
24
     determining the defendant’s understanding of the plea agreement, his free and voluntary acceptance
25
26 of the plea agreement, his understanding of his constitutional rights and those waived by entering into
27 the plea agreement, and the determination that an adequate factual basis existed to support the plea.
28 The matter of “acceptance” of the plea agreement was left to the trial court, Judge John C.

     Coughenour.
                Entered by Deputy Clerk, /s/Kelly Miller, this 22nd day of December 2005.



     ORDER
     Page - 1
